           Case 2:21-cv-01530-AMM     Document 80-45      Filed 12/23/21     Page 1 of 10            FILED
                                                                                           2021 Dec-23 PM 04:07
                                                                                            U.S. DISTRICT COURT
                                                                                                N.D. OF ALABAMA



Economic Indicators

State unemployment by race and
ethnicity

As the national unemployment rate continues to fall, Black and Hispanic unemployment
rates remain high relative to white unemployment rates. State-level unemployment
disparities fell but persist. Claims of a “labor shortage” must take these unemployment
disparities into consideration.


Key numbers • 2021 Q3


    D.C.     Jurisdiction with the highest Black unemployment rate (11.7%)



    N.Y.    State with the highest Hispanic & AAPI unemployment rates (10.7% & 7.9%)



    Hawaii         State with the highest white unemployment rate (7.1%)



    U.S.     Nationwide Black unemployment rate (7.1%)




2021 Q3 • Updated November 2021



Racial disparities in unemployment rates persist,
despite claims of a ‘labor shortage’
By Kyle K. Moore
EPI analyzesCase
             state 2:21-cv-01530-AMM
                    unemployment rates byDocument      80-45 and
                                            race and ethnicity, Filedracial/ethnic
                                                                      12/23/21 Page      2 of 10 rate
                                                                                   unemployment
gaps, on a quarterly basis to generate a sample size large enough to create reliable estimates of
unemployment rates by race and ethnicity at the state level. We report estimates only for states for which
the sample size of these subgroups is large enough to create an accurate estimate. For this reason, the
number of states included in our maps and data tables varies based on the analysis performed. The
following analysis contains data on the third quarter of 2021.



Third-quarter state unemployment rates, trends,
and ratios
In the third quarter of 2021 much of the conversation around the labor market centered on the so-called
“labor shortage”—whether it existed at all, what caused it, and to what extent it meant workers were
finally gaining some measure of bargaining power.1 As the national unemployment rate continued to
slowly decline, anecdotal reporting from employers seemed to suggest that workers as a whole were
unwilling stay on the job and that replacement workers were scarce. This narrative is difficult to square
with the reality of persistent racial disparities in unemployment rates.

While the onset of the Delta variant of COVID-19, combined with a growing intolerance among workers
for low pay and poor working conditions, lowered the appeal of many kinds of jobs through 2021Q3, the
fact remains that Black and brown workers were still less likely than their white counterparts to find
work when searching for it. Black workers were 65% more likely than white workers to be unemployed in
2021Q3, while Hispanic workers were 52% more likely. A better set of questions to ask may be these:
What are employers doing to retain and attract workers? And are they recruiting equally across groups?
            Case 2:21-cv-01530-AMM                 Document 80-45              Filed 12/23/21       Page 3 of 10
INTERACTIVE MAP

State unemployment rates, by race/ethnicity and overall, 2021Q3
  All      White         Black         Hispanic          AAPI
                                                                                                                     Maine




                                                                                                              Vt.    N.H.




  Wash.      Idaho        Mont.        N.D.       Minn.          Ill.       Wis.       Mich.      N.Y.        R.I.   Mass.




   Ore.       Nev.        Wyo.         S.D.       Iowa          Ind.        Ohio        Pa.       N.J.      Conn.




  Calif.      Utah        Colo.        Neb.       Mo.            Ky.        W.Va.       Va.       Md.        Del.




              Ariz.       N.M.         Kan.       Ark.          Tenn.       N.C.       S.C.      D.C.



                                       Okla.       La.          Miss.       Ala.        Ga.




 Alaska      Hawaii                    Texas                                                      Fla.



                      Less than 5.6%    5.6% to < 7.1%     7.1% to < 8.7%    8.7% to < 10.2%   Greater than 10.2%



Washington D.C.
Black: 11.7%
All: 6.6%
White: 2.9%
Hispanic: NA
AAPI: NA
Notes: AAPI stands for Asian American/Pacific Islander. The map reports unemployment rates only for state subgroups with
sample sizes large enough to create accurate estimates.
Source: EPI analysis of Bureau of Labor Statistics Local Area Unemployment Statistics (LAUS) data and Current Population
Survey (CPS) data.
            Case 2:21-cv-01530-AMM        Document 80-45       Filed 12/23/21   Page 4 of 10



Third-quarter trends among Black workers
Among the 14 states (including D.C.) with a large enough sample size for measurement, Black
unemployment was highest in the District of Columbia in the third quarter of 2021, with an
unemployment rate of 11.7%—a decrease from the previous quarter’s rate of 13.8%. Only three states still
had unemployment rates greater than 10%—D.C. (11.7%), Illinois (10.8%), and California (10.4%). Six of
the 14 states with available data now have unemployment rates either less than or within one percentage
point of their pre-pandemic (2020Q1) rate.

Georgia had the lowest Black unemployment rate among the states with available data in 2021Q3, at
4.1%, while Maryland had the lowest Black–white unemployment ratio at 1.3. D.C. maintained the
highest Black–white unemployment ratio, at 4.0, though that ratio has continued to fall as the recovery
continues.

Nationwide, the average Black unemployment rate in 2021Q3 fell to 7.1% from 2021Q2’s 9.2%. While
this drop is significant, 7.1% is the same rate as the highest state unemployment rate for white workers
this quarter (Hawaii’s white unemployment rate was 7.1%). The Black–white unemployment ratio was
lower than in the previous quarter however, at 1.6 for 2021Q3 versus 2021Q2’s 2.0.
            Case 2:21-cv-01530-AMM     Document 80-45   Filed 12/23/21      Page 5 of 10
TABLE 1

Change in state unemployment rates by race and ethnicity from 2020Q1 to
2021Q3 (percentage points)
 State                          All         White       Black            Hispanic          AAPI

 United States                  1.3          1.3         0.9               1.7             2.4

 Alabama                        0.5          -0.1        1.5               NA              NA
 Alaska                         1.4          1.7         NA                NA              NA
 Arizona                        1.3          1.6         NA                2.1             NA
 Arkansas                       0.4          0.3         NA                NA              NA
 California                     3.2          3.1         4.2               2.9             4.2
 Colorado                       2.5          1.8         NA                NA              NA
 Connecticut                    3.4          3.6         NA                NA              NA
 Delaware                       0.9          1.6         NA                NA              NA
 Washington D.C.                1.6          1.1         1.3               NA              NA
 Florida                        1.2          1.0         -1.4              2.6             NA
 Georgia                        0.0          0.7         -1.4              NA              NA
 Hawaii                         4.9          4.6         NA                NA              5.3
 Idaho                          0.3          0.1         NA                NA              NA
 Illinois                       3.4          2.9         4.2               4.5             NA
 Indiana                        0.8          0.6         NA                NA              NA
 Iowa                           1.2          1.5         NA                NA              NA
 Kansas                         0.7          0.6         NA                NA              NA
 Kentucky                       0.2          0.2         NA                NA              NA
 Louisiana                      1.0          1.4         0.0               NA              NA
 Maine                          1.8          2.1         NA                NA              NA
 Maryland                       2.5          2.7         0.7               NA              NA
 Massachusetts                  2.3          1.5         NA                4.8             NA
 Michigan                       1.0          1.0         NA                NA              NA
 Minnesota                      0.5          0.1         NA                NA              NA
 Mississippi                    0.2          1.6        -2.5               NA              NA
 Missouri                       0.4          0.5         NA                NA              NA
 Montana                        -0.3        -0.2         NA                NA              NA
 Nebraska                       -0.8        -0.5         NA                NA              NA
 Nevada                         3.0          2.0         NA                3.9             NA
 New Hampshire                  0.3          0.2         NA                NA              NA
 New Jersey                     3.5          3.5         NA                5.1              3.1
 State      Case 2:21-cv-01530-AMM
                                 All               Document
                                                       White80-45           Filed 12/23/21Hispanic
                                                                            Black            Page 6 of 10 AAPI
 New Mexico                                 2.0             2.4              NA                   2.3                 NA
 New York                                   3.5             2.5              3.9                  5.2                 5.8
 North Carolina                             0.6             1.1              0.6                  NA                  NA
 North Dakota                               1.4             1.3              NA                   NA                  NA
 Ohio                                       0.7             1.1              NA                   NA                  NA
 Oklahoma                                   0.1             0.2              NA                   NA                  NA
 Oregon                                     1.5             0.9              NA                   NA                  NA
 Pennsylvania                               1.4             1.5              NA                   NA                  NA
 Rhode Island                               1.6             1.6              NA                   NA                  NA
 South Carolina                             1.4             1.3              2.2                  NA                  NA
 South Dakota                               0.0             0.5              NA                   NA                  NA
 Tennessee                                  0.7             1.3              NA                   NA                  NA
 Texas                                      1.8             1.2              3.5                  1.9                 2.0
 Utah                                       0.0             0.0              NA                   0.5                 NA
 Vermont                                    0.4             0.2              NA                   NA                  NA
 Virginia                                   1.5             1.2              1.3                  NA                  NA
 Washington                                 0.6             1.1              NA                  -2.4                 NA
 West Virginia                              -0.3            0.0              NA                   NA                  NA
 Wisconsin                                  0.6             0.9              NA                   NA                  NA
 Wyoming                                    0.1             0.8              NA                   NA                  NA

Notes: AAPI stands for Asian American/Pacific Islander. The table reports data only for state subgroups with sample sizes large
enough to create accurate estimates.
Source: EPI analysis of Bureau of Labor Statistics Local Area Unemployment Statistics (LAUS) data and Current Population
Survey (CPS) data.
            Case 2:21-cv-01530-AMM    Document 80-45     Filed 12/23/21   Page 7 of 10
TABLE 2

Black–white and Hispanic–white state unemployment rate ratios, 2021Q3
 State                               Black–white ratio               Hispanic–white ratio

 United States                              1.6                              1.5

 Alabama                                    1.8                              NA
 Alaska                                     NA                               NA
 Arizona                                    NA                               1.2
 Arkansas                                   NA                               NA
 California                                 1.6                              1.3
 Colorado                                   NA                               NA
 Connecticut                                NA                               NA
 Delaware                                   NA                               NA
 Washington D.C.                           4.0                               NA
 Florida                                    1.5                              1.4
 Georgia                                    1.4                              NA
 Hawaii                                     NA                               NA
 Idaho                                      NA                               NA
 Illinois                                   1.9                              1.6
 Indiana                                    NA                               NA
 Iowa                                       NA                               NA
 Kansas                                     NA                               NA
 Kentucky                                   NA                               NA
 Louisiana                                  1.9                              NA
 Maine                                      NA                               NA
 Maryland                                   1.3                              NA
 Massachusetts                              NA                               2.1
 Michigan                                   NA                               NA
 Minnesota                                  NA                               NA
 Mississippi                                1.4                              NA
 Missouri                                   NA                               NA
 Montana                                    NA                               NA
 Nebraska                                   NA                               NA
 Nevada                                     NA                               1.4
 New Hampshire                              NA                               NA
 New Jersey                                 NA                               1.6
 New Mexico                                 NA                               1.2
    State      Case 2:21-cv-01530-AMM Black–white
                                       Documentratio
                                                  80-45                      Filed 12/23/21    Page 8 ofratio
                                                                                          Hispanic–white  10
    New York                                              1.5                                          1.8
    North Carolina                                        1.6                                          NA
    North Dakota                                          NA                                           NA
    Ohio                                                  NA                                           NA
    Oklahoma                                              NA                                           NA
    Oregon                                                NA                                           NA
    Pennsylvania                                          NA                                           NA
    Rhode Island                                          NA                                           NA
    South Carolina                                        1.8                                          NA
    South Dakota                                          NA                                           NA
    Tennessee                                             NA                                           NA
    Texas                                                 2.2                                          1.7
    Utah                                                  NA                                           1.2
    Vermont                                               NA                                           NA
    Virginia                                              1.6                                          NA
    Washington                                            NA                                           1.0
    West Virginia                                         NA                                           NA
    Wisconsin                                             NA                                           NA
    Wyoming                                               NA                                           NA

  Note: The table reports data only for state subgroups with sample sizes large enough to create accurate estimates.
  Source: EPI analysis of Bureau of Labor Statistics Local Area Unemployment Statistics (LAUS) data and Current Population
  Survey (CPS) data.




Third-quarter trends among Hispanic workers
Of the 12 states with available data, Hispanic unemployment was highest in New York, with 10.7% of
Hispanic workers unemployed. This is down slightly from New York’s 2021Q2 Hispanic unemployment
rate of 11.0%. New York was the only state to maintain a Hispanic unemployment rate above 10%. Utah
and Washington state were the states with the lowest Hispanic unemployment rates among those with
available data, with 2.8% and 4.7% Hispanic unemployment, respectively. Only Washington state and
Utah had unemployment rates that were either less than or within one percentage point of their 2020Q1
rates.

Nationwide the Hispanic–white unemployment ratio was 1.5 (6.5% unemployment for Hispanic
workers, 4.3% for white workers), an improvement from 2021Q2’s 1.7. Among the 12 available states, the
Hispanic-white unemployment ratio was highest in Massachusetts, at 2.1—the only state in which
Hispanic workers were twice as likely to be unemployed as white workers. Washington state saw a
Hispanic-white unemployment ratio of 0.99 (rounded to 1.0 in Table 2), virtual parity.
Third-quarter       trends among white workers
      Case 2:21-cv-01530-AMM Document 80-45 Filed 12/23/21 Page 9 of 10


The white unemployment rate for 2021Q3 was highest in Hawaii, at 7.1%—ironically, the same rate as
the national average for Black workers. There were no states in which the white unemployment rate
exceeded 10%.

As of 2021Q3 the white unemployment rate was below 4% in 22 states (including D.C.). The
unemployment rate was within one percentage point of its rate in 2020Q1 (prior to the pandemic) in 22
states. There were 10 states in which unemployment rates were below 3% for white workers. Nationwide
the white unemployment rate for Q3 was 4.3%, a decline from 2021Q2’s rate of 4.7%.



Third-quarter trends among Asian
American/Pacific Islander (AAPI) workers
AAPI unemployment fell from 5.8% in 2021Q2 to 5.4% in 2021Q3. There were no states among the five
with available data in which the AAPI unemployment rate exceeded 10%; New York had the highest
AAPI unemployment rate at 7.9%. AAPI unemployment rates rose in Texas (4.5% to 5.1%) and New
Jersey (4.4% to 7.5%), fell in New York (9.6% to 7.9%) and Hawaii (7.6% to 7.1%), and remained
unchanged in California (at 7.4%).



Methodology
The unemployment rate estimates in this report are based on the Local Area Unemployment Statistics
(LAUS) and the Current Population Survey (CPS) from the Bureau of Labor Statistics (BLS). The overall
state unemployment rate is taken directly from the LAUS. CPS six-month ratios are applied to LAUS
data to calculate the rates by race and ethnicity. For each state subgroup, we calculate the unemployment
rate using the past six months of CPS data. We then find the ratio of this subgroup rate to the state
unemployment rate using the same period of CPS data. This gives us an estimate of how the subgroup
compares with the state overall.

While this methodology allows us to calculate unemployment-rate estimates at the state level by race and
ethnicity by quarter, it is less precise at the national level than simply using the CPS. Thus, the national-
level estimates may differ from direct CPS estimates.

In many states, the sample sizes of particular subgroups are not large enough to create accurate
estimates of their unemployment rates. We report data only for groups that had, on average, a sample
size of at least 700 in the labor force for each six-month period. Data collection for the BLS surveys used
to produce this report was affected by the pandemic, in some cases limiting sample sizes such that some
states that usually meet sample size thresholds no longer did so.2


Notes
1. See HeidiCase 2:21-cv-01530-AMM
            Shierholz                   Document
                      and Josh Bivens, “Job      80-45Growth
                                            and Wage    Filed 12/23/21 Page
                                                              Do Not Point to10
                                                                              anof 10
Economywide Labor Shortage,” Working Economics Blog (Economic Policy Institute), June 25,
2021.

2. See Bureau of Labor Statistics, “Effects of COVID-19 Pandemic on the Employment Situation
News Release and Data” (web page), for more details on how the pandemic has impacted data
collection.




    Read more:
        State unemployment by race and ethnicity, 2021Q1Q2
        State unemployment by race and ethnicity, 2020Q3Q4
        State unemployment by race and ethnicity, 2020Q1Q2
        State unemployment by race and ethnicity, 2019Q4
